                            In the Matter Of:

           KULAKOWSKI vs WESTROCK SERVICES




                          MICHAEL WHITE

                           November 15, 2017




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 · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · FOR THE MIDDLE DISTRICT OF TENNESSEE
 · · · · · · · · ·NASHVILLE DIVISION




 MICHAEL KULAKOWSKI,· · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 · · ·Plaintiff,· · · · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 vs.· · · · · · · · · · · · · · · · )CASE NO.
 · · · · · · · · · · · · · · · · · ·)3:16-CV-02510
 · · · · · · · · · · · · · · · · · ·)
 WESTROCK SERVICES, INC.,· · · · · ·)
 · · · · · · · · · · · · · · · · · ·)
 · · ·Defendant.· · · · · · · · · · )
 _________________________________




 · · · · · · · · · · DEPOSITION OF

 · · · · · · · · · MICHAEL P. WHITE

 · · · · · Taken on Behalf of the Plaintiff

 · · · · · · · · · November 15, 2017

 · · · · · · · ·Commencing at 3:15 p.m.




 __________________________________________________



 Reported by:· Jerri L. Porter, RPR, CRR
 Tennessee LCR No. 335
 Expires:· 6/30/2018



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·1·   APPEARANCES:                                                    ·1· · · · · · · ·The deposition of MICHAEL P. WHITE was
·2·   For the Plaintiff:                                              ·2· taken on behalf of the Plaintiff on November 15,
·3·   · · · · ·HEATHER MOORE COLLINS
                                                                      ·3· 2017, in the offices of Bone, McAllester & Norton,
· ·   · · · · ·Collins & Hunter
·4·   · · · · ·7000 Executive Center Drive                            ·4· 131 Saundersville Road, Suite 130, Hendersonville,
· ·   · · · · ·Building 2, Suite 320                                  ·5· Tennessee, for all purposes under the Federal Rules
·5·   · · · · ·Brentwood, Tennessee· 37027
                                                                      ·6· of Civil Procedure.
· ·   · · · · ·(615) 724-1996
·6·   · · · · ·heather@collinshunter.com                              ·7· · · · · · · ·The formalities as to notice, caption,
·7                                                                    ·8· certificate, et cetera, are waived.· All objections,
· ·   For the Defendant:
                                                                      ·9· except as to the form of the questions, are reserved
·8
· ·   ·   ·   ·   ·   ·MARY DOHNER SMITH                              10· to the hearing.
·9·   ·   ·   ·   ·   ·Constangy, Brooks, Smith & Prophete            11· · · · · · · ·It is agreed that Jerri L. Porter,
· ·   ·   ·   ·   ·   ·1010 SunTrust Plaza
                                                                      12· being a Notary Public and Court Reporter for the
10·   ·   ·   ·   ·   ·401 Commerce Street
· ·   ·   ·   ·   ·   ·Nashville, Tennessee· 37219                    13· State of Tennessee, may swear the witness, and that
11·   ·   ·   ·   ·   ·(615) 320-5200                                 14· the reading and signing of the completed deposition
· ·   ·   ·   ·   ·   ·mdohner@constangy.com
                                                                      15· by the witness are reserved.
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19                                                                    21· · · · · · · · · · · · · * * *
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·1· · · · · · · · · · · · I N D E X                                   ·1·   · · · · · · · · · MICHAEL P. WHITE
·2· · · · · · · · · INDEX OF EXAMINATIONS                             ·2·   was called as a witness, and after having been first
·3· · · · · · · · · · · · · · · · · · · · · · · · · Page              ·3·   duly sworn, testified as follows:
·4· Examination By Ms. Collins ........................5              ·4·   · · · · · · · · E X A M I N A T I O N
·5· Examination By Ms. Dohner Smith ..................19              ·5·   BY MS. COLLINS:
·6· Examination By Ms. Collins .......................24              ·6·   Q· · · ·Good afternoon.· Could you state your
·7                                                                    ·7·   complete name for the record, please.
·8                                                                    ·8·   A· · · ·Michael Perry White.
·9· · · · · · · · · · INDEX OF EXHIBITS                               ·9·   Q· · · ·Mr. White, what is your address?
10· NO EXHIBITS                                                       10·   A· · · ·3258 Union Camp Road, Lafayette, Tennessee,
11                                                                    11·   37083.
12                                                                    12·   Q· · · ·What is your phone number?
13                                                                    13·   A· · · ·House or cell?
14                                                                    14·   Q· · · ·Cell.
15                                                                    15·   A· · · ·(615)633-5006.
16                                                                    16·   Q· · · ·Where do you currently work?
17                                                                    17·   A· · · ·WestRock fulfillment.
18                                                                    18·   Q· · · ·How long have you been out there?
19                                                                    19·   A· · · ·Twenty-five years.
20                                                                    20·   Q· · · ·What is your current job title?
21                                                                    21·   A· · · ·I just printed my paycheck off.· It says
22                                                                    22·   facility manager.
23                                                                    23·   Q· · · ·What are you generally referred as?
24                                                                    24·   A· · · ·I thought I was supposed to be called
25                                                                    25·   superintendent/safety manager.


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·1·   Q· · · ·How long have you been in this role?            ·1·   before Mr. Whited's termination?
·2·   A· · · ·Ten years probably.· I've had several over      ·2·   A· · · ·Yes, ma'am.
·3·   the years.                                              ·3·   Q· · · ·Had any of those events happened the year
·4·   Q· · · ·Had several different jobs over the years?      ·4·   that Mr. Whited was terminated, 2016?
·5·   A· · · ·Yes.                                            ·5·   A· · · ·Yes, ma'am.
·6·   Q· · · ·Okay.· How long have you been employed by       ·6·   Q· · · ·Do you recall Mr. Whited hitting or kicking
·7·   WestRock?                                               ·7·   Mr. Kulakowski in the groin?
·8·   A· · · ·Twenty-five.                                    ·8·   A· · · ·Yes, ma'am.
·9·   Q· · · ·Who do you report to?                           ·9·   Q· · · ·Do you recall him hitting or kicking
10·   A· · · ·Right now I report to Keith Hall.               10·   Mr. Kulakowski -- Mr. Whited hitting or kicking
11·   Q· · · ·Who did you used to report to?                  11·   Mr. Kulakowski in the groin so hard that he fell to
12·   A· · · ·It was Larry Eden.                              12·   the ground and couldn't breathe?
13·   Q· · · ·Was that when Larry Eden was plant manager?     13·   A· · · ·No, ma'am.
14·   A· · · ·Yes, ma'am.                                     14·   Q· · · ·Do you recall Mr. Whited hitting
15·   Q· · · ·Have you ever reported directly to Tommy        15·   Mr. Kulakowski in the groin with a broom or any
16·   Whited?                                                 16·   object?
17·   A· · · ·Yes, ma'am.                                     17·   A· · · ·I don't think so.
18·   Q· · · ·When was that?                                  18·   Q· · · ·Did you witness Mr. Whited kicking a chair
19·   A· · · ·Somewhere in the neighborhood of three or       19·   out from under Mr. Kulakowski?
20·   four years ago.                                         20·   A· · · ·I don't recall seeing that.
21·   Q· · · ·Is your job a management position?              21·   Q· · · ·When you witnessed Mr. Whited hitting or
22·   A· · · ·Yes.                                            22·   kicking Mr. Kulakowski, did you report that to
23·   Q· · · ·You're salaried?                                23·   anyone else?
24·   A· · · ·Salary.                                         24·   A· · · ·No, ma'am.
25·   Q· · · ·Okay.· Now, you worked with Michael             25·   Q· · · ·Was Mr. Eden present when that happened on
                                                     Page 7                                                        Page 9
·1·   Kulakowski, right?                                      ·1·   some of those occasions?
·2·   A· · · ·Yes.                                            ·2·   A· · · ·I can't honestly say I recall him being
·3·   Q· · · ·Do you still work with him?                     ·3·   there.
·4·   A· · · ·He's off at the present time.                   ·4·   Q· · · ·Were people out at the plant kind of afraid
·5·   Q· · · ·But you still work with him out at the          ·5·   of Mr. Whited?
·6·   fulfillment center?                                     ·6·   A· · · ·Yes, ma'am.
·7·   A· · · ·Yes.· He works at the fulfillment center.       ·7·   Q· · · ·Can you tell me a little bit about that, why
·8·   Q· · · ·And you worked with Tommy Whited when he was    ·8·   people were so afraid of him?
·9·   out at the fulfillment center?                          ·9·   A· · · ·He was kind of bipolar.· Would be in a good
10·   A· · · ·Yes.· He was over both facilities.              10·   mood and then wouldn't -- or better terminology,
11·   Q· · · ·Did you ever witness Tommy Whited hitting or    11·   grouchier than hell the next minute.
12·   kicking Michael Kulakowski?                             12·   Q· · · ·Was that kind of across the board, that
13·   A· · · ·Yes, ma'am.                                     13·   everybody was afraid of him?
14·   Q· · · ·Do you recall when it was?                      14·   · · · · · · ·MS. DOHNER SMITH:· Objection.
15·   A· · · ·I can't tell you when the last time was.        15·   BY MS. COLLINS:
16·   Q· · · ·Have you seen that happen on more than one      16·   Q· · · ·Or your perception?
17·   occasion?                                               17·   A· · · ·I've not -- I mean, I really -- I don't know
18·   A· · · ·Yes, ma'am.                                     18·   what other people felt like, but it seemed to me
19·   Q· · · ·About how many times had you seen that          19·   that other people were -- felt that way, yes.
20·   happen?                                                 20·   Q· · · ·Did he threaten people's jobs if they didn't
21·   A· · · ·Handful of times.                               21·   like the way things were out there?
22·   Q· · · ·Handful, is that less than ten or more than     22·   A· · · ·I've heard him threaten, but he never fired
23·   ten?                                                    23·   anybody.· So I don't know if that held much water.
24·   A· · · ·Probably less than ten.                         24·   Q· · · ·Did you ever hear him say anything to
25·   Q· · · ·Would that be over the past five years or so    25·   employees, that if people complained about him he


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·1·   would find out about it, or anything like that?         ·1·   Q· · · ·You wished you would have reported
·2·   A· · · ·I've never heard him say that, no.              ·2·   Mr. Whited?
·3·   Q· · · ·Have you ever made a complaint to HR about      ·3·   A· · · ·Well, yes.· If he had been my direct report,
·4·   Mr. Whited and the way he treated employees?            ·4·   I feel like I would have had to.
·5·   A· · · ·No, ma'am.                                      ·5·   Q· · · ·Were you afraid you would lose your job if
·6·   Q· · · ·Why not?                                        ·6·   you would have reported him?
·7·   A· · · ·I didn't think it would matter.                 ·7·   A· · · ·No.· I just feel like that -- I don't know.
·8·   Q· · · ·What do you mean by that?                       ·8·   I guess I didn't take it seriously enough.· I did
·9·   A· · · ·I didn't think they'd do anything about it.     ·9·   think it was in a, like I said, horseplay manner.
10·   Q· · · ·Why do you feel that way?                       10·   Q· · · ·And by horseplay, you mean the hitting and
11·   A· · · ·I just -- I don't know how to explain it.       11·   kicking and that sort of stuff?
12·   Because he'd been there so long, because he made the    12·   A· · · ·Yes.
13·   company so much money.                                  13·   Q· · · ·Did you see Mr. Whited hit or kick other
14·   Q· · · ·When you saw Tommy Whited hitting or kicking    14·   employees?
15·   Mr. Kulakowski, did you think he was just joking        15·   A· · · ·Yes.
16·   around with him?                                        16·   Q· · · ·Who else did you see him hit or kick?
17·   A· · · ·That was pretty much the culture, horseplay.    17·   A· · · ·The one I can really recall probably was
18·   That's -- I guess it's been that way for years.         18·   Jerry Harville.
19·   Q· · · ·With Mr. Whited hitting or kicking other        19·   Q· · · ·Anyone else?
20·   employees?                                              20·   A· · · ·Not that I can recall.
21·   A· · · ·Yeah.· Horseplaying, in a manner of that        21·   Q· · · ·Did you ever talk with Larry Eden about the
22·   way, yes.                                               22·   way Mr. Whited treated employees?
23·   Q· · · ·Did he ever hit or kick you?                    23·   A· · · ·No.
24·   A· · · ·No.                                             24·   Q· · · ·Did Mr. Eden ever talk with you about it?
25·   Q· · · ·Do you think it's appropriate for the           25·   A· · · ·I don't recall him ever talking to me about
                                                    Page 11                                                       Page 13
·1·   general manager to hit employees in the groin?          ·1·   it, no.
·2·   A· · · ·This day and time, no.                          ·2·   Q· · · ·Did you ever have any dealings with an
·3·   Q· · · ·Did you see Mr. Whited hit Mr. Kulakowski in    ·3·   employee named Helen Kendall?
·4·   the groin?                                              ·4·   A· · · ·Yes, ma'am.
·5·   A· · · ·You asked that already.· Yes.                   ·5·   Q· · · ·What did you understand her role to be?
·6·   Q· · · ·Okay.· I couldn't remember if I was             ·6·   A· · · ·I thought she was human resource.
·7·   specific.· I forget.                                    ·7·   Q· · · ·For the Gallatin plants?
·8·   A· · · ·That's all right.                               ·8·   A· · · ·Yes, ma'am.
·9·   Q· · · ·Did Mr. Kulakowski complain to you about the    ·9·   Q· · · ·Did you know that WestRock had a compliance
10·   way that Mr. Whited treated him?                        10·   hotline?
11·   A· · · ·Sometimes, yes.                                 11·   A· · · ·Yes, ma'am.
12·   Q· · · ·What do you recall about what he complained     12·   Q· · · ·What was your understanding what that was
13·   about?                                                  13·   for?
14·   A· · · ·Just the fact that he thought he was picking    14·   A· · · ·Well, I've had several complaints before, so
15·   on him sometimes.                                       15·   I thought it was for, you know, just about anything,
16·   Q· · · ·Did he complain about being kicked or hit in    16·   really.
17·   the groin?                                              17·   Q· · · ·Okay.
18·   A· · · ·I don't know if he ever physically said what    18·   A· · · ·We've had it for safety issues, you know,
19·   he was frustrated about or anything.· I think it was    19·   probably for sexual harassments or, you know,
20·   just the way he was picking on him.                     20·   disgruntled employees.· I mean, I thought basically
21·   Q· · · ·Do you think as a supervisor out at WestRock    21·   it was for anything.
22·   you have a responsibility to report when another        22·   Q· · · ·Had you ever heard Tommy Whited threaten
23·   employee hits or kicks an employee?                     23·   employees that if they called it, he would find out
24·   A· · · ·Yeah, I do.· I wished I would have.· That's     24·   about it?
25·   behind me, though.                                      25·   A· · · ·You've asked that again.· No, I've never


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·1·   heard him say that.                                     ·1·   Q· · · ·Were you asked any questions at all about
·2·   Q· · · ·You have a better memory than I have.           ·2·   the investigation before Tommy Whited's termination?
·3·   A· · · ·Sorry.                                          ·3·   A· · · ·No, ma'am.· I thought that was very odd,
·4·   · · · · · · ·MS. DOHNER SMITH:· I don't even have to    ·4·   too.
·5·   do the objection asked and answered.                    ·5·   Q· · · ·Did you ever witness Mr. Whited kick or hit
·6·   · · · · · · ·THE WITNESS:· I'm very uncomfortable       ·6·   a woman in the groin?
·7·   about doing this.                                       ·7·   A· · · ·No, ma'am.
·8·   · · · · · · ·MS. COLLINS:· I'm sure.· I understand.     ·8·   Q· · · ·But y'all have women working out there --
·9·   BY MS. COLLINS:                                         ·9·   A· · · ·Yes.
10·   Q· · · ·Did you ever hear Tommy Whited cussing at       10·   Q· · · ·-- at the fulfillment center, right?
11·   Michael Kulakowski?                                     11·   A· · · ·Yes, ma'am.
12·   A· · · ·Yeah.· Yes, ma'am.                              12·   Q· · · ·Did you ever witness Mr. Whited show his
13·   Q· · · ·Have you heard him call Michael Kulakowski a    13·   penis --
14·   stupid Polak?                                           14·   A· · · ·No, ma'am.
15·   A· · · ·Yes, ma'am.                                     15·   Q· · · ·-- to anyone?
16·   Q· · · ·More than one time?                             16·   A· · · ·No.
17·   A· · · ·Yes, ma'am.                                     17·   Q· · · ·Okay.· Have you ever kicked or hit another
18·   Q· · · ·Did you hear him call Michael Kulakowski        18·   employee in the groin?
19·   other names?                                            19·   A· · · ·No, ma'am.
20·   A· · · ·Tommy had a way with words.· I'm sure he        20·   Q· · · ·Was it primarily Mr. Whited doing that to
21·   said some more things.· He did that.                    21·   other employees, kicking and hitting --
22·   Q· · · ·Did you hear Mr. Whited call Mr. Kulakowski     22·   · · · · · · ·MS. DOHNER SMITH:· Objection.
23·   a stupid motherfucker?                                  23·   BY MS. COLLINS:
24·   A· · · ·I'm not sure that was a direct thing or not.    24·   Q· · · ·-- male employees in the groin?
25·   I know about the Polak thing because of his last        25·   · · · · · · ·MS. DOHNER SMITH:· Go ahead and answer.
                                                    Page 15                                                       Page 17
·1·   name.· Tommy had a foul mouth sometimes.                ·1·   · · · · · · ·THE WITNESS:· I mean, you know, back in
·2·   Q· · · ·So you don't dispute that he called             ·2·   the day, it was -- you know, that was horseplay.
·3·   Mr. Kulakowski --                                       ·3·   That was -- I've seen people do it to other people,
·4·   A· · · ·I would not dispute that, but I don't...        ·4·   yes.· And I couldn't tell you who or what, I mean,
·5·   Q· · · ·Okay.· Do you recall an occasion where          ·5·   but back when I started in the '90s, it was just
·6·   Mr. Whited kicked Mr. Kulakowski so hard he fell to     ·6·   practical jokes and horseplay.
·7·   his knees and wasn't able to breathe?                   ·7·   BY MS. COLLINS:
·8·   A· · · ·No.                                             ·8·   Q· · · ·Right.· But I'm talking about, let's say the
·9·   Q· · · ·Do you recall an incident out at a picnic       ·9·   last three years before Mr. Whited's termination,
10·   table with Mr. Kulakowski and Mr. Whited, where he      10·   2014, '15, and '16.· Was it primarily him doing that
11·   was kicked out there?                                   11·   to other employees?
12·   A· · · ·No, ma'am.                                      12·   A· · · ·Yes, ma'am.
13·   Q· · · ·Did you ever witness Mr. Kulakowski either      13·   Q· · · ·I understand that Terri Henley is your local
14·   tell you or Larry Eden that he was sick of the way      14·   HR person now, right?
15·   Tommy Whited was kicking him or treating him or         15·   A· · · ·Yeah.· I understand that, yes.
16·   anything of that nature?                                16·   Q· · · ·About how many times do y'all see her in a
17·   A· · · ·He said before that he was sick of the way      17·   year?· When she's not investigating Tommy Whited.
18·   he treated him.                                         18·   A· · · ·Not many.· Three or four maybe.
19·   Q· · · ·Have you ever heard Mr. Whited -- or did you    19·   Q· · · ·Okay.· When y'all get an employee handbook,
20·   ever hear Mr. Whited tell Mr. Kulakowski that he        20·   are y'all required to go through it or do y'all just
21·   could suck his dick, or anything like that?             21·   sign to say that you received it?
22·   A· · · ·Yeah, I've heard him say it a couple of         22·   A· · · ·Well, we sign that we received it.· I guess
23·   times.· I didn't -- never mind.                         23·   it's always been -- I went through mine, so I don't
24·   Q· · · ·I'm sorry?                                      24·   know.· So yes, just sign to say that you received
25·   A· · · ·Yeah, I've heard him say that.                  25·   it.


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·1·   · · · · · · ·MS. COLLINS:· Okay.· I think that's all    ·1·   Q· · · ·His demeanor changed when he had problems
·2·   I have.· Let me just take a second to look at my        ·2·   with his back?
·3·   notes.                                                  ·3·   A· · · ·Yes, ma'am.
·4·   · · · · · · ·(Pause in proceedings.)                    ·4·   Q· · · ·And he'd complain about the pain in his
·5·   BY MS. COLLINS:                                         ·5·   back?
·6·   Q· · · ·Have you been in contact with Tommy Whited      ·6·   A· · · ·Yes, ma'am.
·7·   since termination?                                      ·7·   Q· · · ·And when his back got better, his demeanor
·8·   A· · · ·He called me one time.                          ·8·   got better?
·9·   Q· · · ·What did he call you about?                     ·9·   A· · · ·Yeah.
10·   A· · · ·He met me on the road and told me that he       10·   Q· · · ·And then lately his back is hurting him
11·   respected me and that was -- how did he put it?· It     11·   again?
12·   was a pleasure working with me, and if he ever          12·   A· · · ·He's complaining with his leg and stuff
13·   needed him -- if I ever needed him, call him.           13·   hurting, yes, ma'am.
14·   Q· · · ·Okay.· When was that?                           14·   Q· · · ·Okay.· When you get a copy of the handbook
15·   A· · · ·Maybe a week after he was fired.                15·   and you sign off on it, employees actually get their
16·   Q· · · ·And you haven't seen him since then?            16·   own copy to keep, correct?
17·   A· · · ·I've seen him.· I haven't talked to him.        17·   A· · · ·Yes.
18·   Q· · · ·Okay.· You didn't buy a car or anything from    18·   Q· · · ·Now, Terri Henley being at the facility, are
19·   him, did you?                                           19·   there times that she may be there and you just don't
20·   A· · · ·No, ma'am.                                      20·   know because you don't see her?
21·   Q· · · ·You don't owe him any money, do you?            21·   · · · · · · ·MS. COLLINS:· Objection to form.
22·   A· · · ·No, ma'am.· That's the last thing I would       22·   · · · · · · ·You can answer.
23·   have done.                                              23·   · · · · · · ·THE WITNESS:· I can answer?
24·   Q· · · ·Now, you mentioned earlier that you were        24·   · · · · · · ·MS. COLLINS:· Yes, you can answer.
25·   uncomfortable being here.· Are you worried about        25·   · · · · · · ·THE WITNESS:· This is confusing me.
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·1·   providing testimony here today?                         ·1·   · · · · · · ·I'm sure it's possible that she's there
·2·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·2·   and I'm unaware.
·3·   BY MS. COLLINS:                                         ·3·   BY MS. DOHNER SMITH:
·4·   Q· · · ·You can answer.                                 ·4·   Q· · · ·Okay.· You said Mr. Kulakowski said he was
·5·   A· · · ·Well, ma'am, I've worked for WestRock           ·5·   sick of the way Tommy Whited was treating him.· Was
·6·   25 years.· He give me a job and Kuli is my best         ·6·   that in relation to kicking and hitting or was that
·7·   friend, but I can't lie, so...                          ·7·   Tommy kind of getting on him about things that are
·8·   Q· · · ·Right.· Have you noticed a change in            ·8·   going on in the warehouse?
·9·   Mr. Kuli over the past several years?· Or               ·9·   · · · · · · ·MS. COLLINS:· Objection to form.
10·   Kulakowski.                                             10·   · · · · · · ·THE WITNESS:· All of the above.
11·   A· · · ·Yes.· It got better and then it kind of got     11·   BY MS. DOHNER SMITH:
12·   worse again.                                            12·   Q· · · ·He's told you, I'm sick of him kicking me?
13·   Q· · · ·Is he paranoid about what Mr. Whited will do    13·   A· · · ·Ma'am, I can't hardly remember exact words
14·   to him?                                                 14·   like that said.
15·   A· · · ·He's mentioned it a couple of times, but I      15·   Q· · · ·Okay.· So you just don't know what he was
16·   don't know how paranoid he really is about it. I        16·   saying when he said I'm sick of the way Tommy is
17·   think he's more worried about his health.               17·   treating me?
18·   · · · · · · ·MS. COLLINS:· Okay.· That's all I have.    18·   A· · · ·Yeah.
19·   · · · · · · · · E X A M I N A T I O N                   19·   Q· · · ·Okay.· The term motherfucker, that's one
20·   BY MS. DOHNER SMITH:                                    20·   that Mr. Kulakowski himself uses; is that correct?
21·   Q· · · ·The change that you noticed in                  21·   A· · · ·Yes.
22·   Mr. Kulakowski, you said it got better then worse       22·   Q· · · ·Okay.· He uses that in the workplace?
23·   again.· The change that you saw in him, did that        23·   A· · · ·I've heard him say it, yes, ma'am.· Just
24·   happen when he had problems with his back?              24·   about everybody else there, too.
25·   A· · · ·Yes, ma'am.                                     25·   Q· · · ·Now, Tommy, when he'd get upset and cuss,


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·1·   he'd cuss in full meetings, correct?                    ·1·   being sexually harassed, did he?
·2·   A· · · ·Yes, ma'am.                                     ·2·   A· · · ·No, ma'am.
·3·   Q· · · ·And there would be men and women in those       ·3·   Q· · · ·Did Mr. Kulakowski ever ask you to make a
·4·   meetings?                                               ·4·   report or call the hotline or call HR on his behalf?
·5·   A· · · ·Yes, ma'am.                                     ·5·   A· · · ·No, ma'am.
·6·   Q· · · ·You said you heard Mr. Whited call              ·6·   · · · · · · ·MS. DOHNER SMITH:· That's all I've got.
·7·   Mr. Kulakowski a stupid Polak.· Mr. Kulakowski would    ·7·   · · · · · · · · E X A M I N A T I O N
·8·   also refer to himself as a Polak, correct?              ·8·   BY MS. COLLINS:
·9·   A· · · ·Yes.                                            ·9·   Q· · · ·A moment ago when you were being asked about
10·   Q· · · ·And he'd joke about being a Polak?              10·   people using the term -- or Mr. Kulakowski using the
11·   A· · · ·Yes, ma'am.                                     11·   term motherfucker in the workplace, I think you said
12·   Q· · · ·Okay.· The handful of times you said you saw    12·   just about everybody else does, too?
13·   Mr. Whited either hit or kick Mr. Kulakowski, that      13·   A· · · ·Several individuals use words.· I'm guilty.
14·   handful, does that encompass the hitting and kicking    14·   Sorry.
15·   in the groin and then hitting and kicking other         15·   Q· · · ·Okay.· When you were asked about whether or
16·   places?                                                 16·   not Mr. Kulakowski was cutting up with Mr. Tommy
17·   A· · · ·Yeah.· I would say both would be a handful      17·   Whited, you don't, in fact, know if he welcomed
18·   of times, yes.                                          18·   being hit or kicked in the groin, do you?
19·   Q· · · ·Okay.· Now, that handful of times,              19·   · · · · · · ·MS. DOHNER SMITH:· Objection.
20·   Mr. Kulakowski, was he typically laughing, seemed to    20·   · · · · · · ·THE WITNESS:· I don't know how to
21·   be laughing and cutting up when all of this was         21·   answer that.· No, I'm not Michael Kulakowski, so I
22·   going on?                                               22·   don't know if he would have welcomed it or not.
23·   · · · · · · ·MS. COLLINS:· Objection to form.           23·   BY MS. COLLINS:
24·   · · · · · · ·THE WITNESS:· Sometimes.                   24·   Q· · · ·Okay.· And I believe you said Mr. Kulakowski
25                                                            25·   was afraid of Mr. Whited, right?
                                                    Page 23                                                       Page 25
·1·   BY MS. DOHNER SMITH:                                    ·1·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·2·   Q· · · ·Okay.· Was there anything that you observed     ·2·   · · · · · · ·THE WITNESS:· I don't know if Kuli was
·3·   that you thought that Mr. Kulakowski was actually in    ·3·   afraid of anybody.· He'd act like a tough guy
·4·   danger or hurt in any way?                              ·4·   sometimes, so I don't know if he was physically
·5·   A· · · ·I can't say danger.· I know he would            ·5·   afraid of him or not.· I don't think so, but...
·6·   grimace, act like it hurt him sometimes.                ·6·   BY MS. COLLINS:
·7·   Q· · · ·But he would usually appear to be cutting up    ·7·   Q· · · ·You said a lot of employees out there were
·8·   with Mr. Whited?                                        ·8·   afraid of Mr. Whited.
·9·   · · · · · · ·MS. COLLINS:· Objection to form.           ·9·   A· · · ·Well, they're intimidated.
10·   · · · · · · ·THE WITNESS:· Yes, ma'am.                  10·   Q· · · ·Right.
11·   BY MS. DOHNER SMITH:                                    11·   A· · · ·I guess if I said afraid, I probably
12·   Q· · · ·If you had seen anything where you thought      12·   meant -- I meant intimidated.· Intimidation. I
13·   that Tommy was being malicious or attempting to, you    13·   don't know if I can go back and say that or not.
14·   know, hurt Mr. Kulakowski, would you have offered to    14·   Sorry.
15·   help Mr. Kulakowski?                                    15·   Q· · · ·And you said you were never hit in the groin
16·   · · · · · · ·MS. COLLINS:· Objection to form.           16·   by Mr. Whited, right?
17·   · · · · · · ·THE WITNESS:· If they would have got       17·   A· · · ·No.
18·   into a fight, I would have broke them up.               18·   Q· · · ·Would you appreciate that if you were?
19·   BY MS. DOHNER SMITH:                                    19·   A· · · ·No.
20·   Q· · · ·What about if Mr. Kulakowski had come and       20·   · · · · · · ·MS. COLLINS:· All right.· That's all I
21·   said, I believe I'm being sexually harassed.· Would     21·   have.
22·   you have offered to assist him?                         22·   · · · · · · ·FURTHER DEPONENT SAITH NOT.
23·   A· · · ·I would have told him to call the hotline       23·   · · · · · · ·(Proceedings concluded at 3:45 p.m.)
24·   number.                                                 24
25·   Q· · · ·Okay.· He never came to you and said he was     25


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·1· · · · · · · · ·REPORTER'S CERTIFICATE
·2
·3· · · · · · · ·I, Jerri L. Porter, RPR, CRR, Notary
·4· Public and Court Reporter, do hereby certify that I
·5· recorded to the best of my skill and ability by
·6· machine shorthand all the proceedings in the
·7· foregoing transcript, and that said transcript is a
·8· true, accurate, and complete transcript to the best
·9· of my ability.
10· · · · · · · ·I further certify that I am not an
11· attorney or counsel of any of the parties, nor a
12· relative or employee of any attorney or counsel
13· connected with the action, nor financially
14· interested in the action.
15· · · · · · · ·SIGNED this 28th day of November, 2017.
16
17
18
19
20· · · · · · · ·____________________________________
21· · · · · · · · · · Jerri L. Porter, RPR, CRR
22· My Notary commission expires:· 2/19/2018
23· Tennessee LCR No. 335
· · Expires:· 6/30/2018
24
25

                                                        Page 27
·1· · · · · · · · · · · ·E R R A T A
·2
·3· · · ·I, MICHAEL P. WHITE, having read the
· · foregoing deposition, Pages 1 through 25, taken
·4· November 15, 2017, do hereby certify said
· · testimony is a true and accurate transcript,
·5· with the following changes, if any:
·6· PAGE· · LINE· · · SHOULD HAVE BEEN
·7· _____· ·_____· · ·______________________________
·8· _____· ·_____· · ·______________________________
·9· _____· ·_____· · ·______________________________
10· _____· ·_____· · ·______________________________
11· _____· ·_____· · ·______________________________
12· _____· ·_____· · ·______________________________
13· _____· ·_____· · ·______________________________
14· _____· ·_____· · ·______________________________
15· _____· ·_____· · ·______________________________
16· _____· ·_____· · ·______________________________
17
18· · · · · · ·______________________________
19· · · · · · · · · · MICHAEL P. WHITE
20
21
22· ____________________________
· · · · · Notary Public
23· My commission expires:· _____________
24
25



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